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   MIYOSHI & HIRONAKA                                                         RANDALL K. HIRONAKA
   A LIMITED LIABILITY LAW COMPANY                                               ATTORNEY AT LAW

                                             May 15, 2019

  VIA ELECTRONIC MAIL

  Honorable Wes Porter
  United States District Court
  District of Hawaii
  300 Ala Moana Blvd.
  Honolulu, Hawai‘i 96850

  Dear Magistrate Judge Porter:

  I am writing this letter to update the Court with respect to the issues which remain in dispute. At
  our last status conference before Judge Puglisi on March 28, 2019, the discussion was basically
  narrowed to that of reimbursing my client for costs associated with the extended seizure of the
  boat, certain of the boat’s parts (which are still in the possession of the Federal Bureau of
  Investigation) and repairs.

  Consistent with the Court’s order from the previous status conference, Assistant United States
  Attorney (“AUSA”) Micah Smith confirmed an inventory of the boat’s parts which were seized.
  At the last status conference, it was anticipated that estimates would be obtained by my client for
  replacement parts and repairs to make the boat seaworthy again. However, my client already had
  repairs done to the boat, so I am in possession of receipts rather than estimates.

  At this point, the issue now would be whether the Court is going to order the United States to
  reimburse my client for the incurred costs. Rather than attaching the receipts to this status report,
  I can provide them to the Court, the United States or both.

  I look forward to discussing this issue further with the Court. If you have any further questions or
  concerns, please do not hesitate to contact me at (808) 389-7263.

  Sincerely,

  /s/ Randall K. Hironaka

  Randall K. Hironaka



  cc:    Micah Smith, Esq., Assistant United States Attorney, District of Hawaii
         Darren Ching, Esq., Assistant United States Attorney, District of Hawaii




   345 Queen Street, Suite 600 • Honolulu, Hawai‘i 96813 • T: (808) 888-2595 • E: randy@808-law.com
